         Case 2:19-cv-02142-JAR-JPO Document 1 Filed 03/13/19 Page 1 of 9




                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS


HAYDEN CATHOLIC HIGH SCHOOL                      )
                                                 )
                                                 )
                                 Plaintiff,      )       Case No. __________________
                                                 )
         v.                                      )
                                                 )                  COMPLAINT
KEITH FRANK BELL,                                )          FOR DECLARATORY JUDGMENT
                                                 )          AND DEMAND FOR JURY TRIAL
                                 Defendant       )
                                                 )
                                                 )
                                                 )
                                                 )


         Plaintiff Hayden Catholic High School (“Hayden Catholic”) states the following claim

for declaratory judgment against Defendant Keith Frank Bell (“Defendant”).

                                               PARTIES

         1.        Plaintiff Hayden Catholic is a § 501(c)(3) corporation located at 401 SW Gage

Boulevard, Topeka, Kansas. Hayden Catholic provides an education founded on the Gospel,

with a rigorous curriculum that prepares students for college while at the same time helping

students see faith lived out beyond the walls of the school.

         2.        On information and belief, Defendant is an individual who is domiciled in and is a

citizen of the State of Texas.

                                   JURISDICTION AND VENUE

         3.        This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331,

1338(a), and 2201.




                                                     1
4829-7487-8090.1
         Case 2:19-cv-02142-JAR-JPO Document 1 Filed 03/13/19 Page 2 of 9




         4.        This Court has personal jurisdiction over Defendant because he is amenable to

service of process pursuant to Rule 4(k)(2) of the Federal Rules of Civil Procedure and/or the

Kansas Long Arm Statute, K.S.A. 60-308, due to the fact that Defendant has sufficient minimum

contacts with Kansas that would support jurisdiction consistent with the constitutions of the

United States and the State of Kansas. See Dudnikov v. Chalk & Vermilion Fine Arts, Inc., 514

F.3d 1063 (10th Cir. 2008) (Gorsuch, J.).

         5.        Venue is proper in the United States District Court for the District of Kansas

pursuant to 28 U.S.C. §§ 1391(b)(2), (3).

                                     STATEMENT OF FACTS

                            The Christmas Eve Cease-and-Desist Letter

         6.        On Christmas Eve, December 24, 2018, Defendant emailed a cease-and-desist

letter to Shelly Buhler, President of Hayden Catholic, claiming that Hayden Catholic had

infringed upon Defendant’s copyright and trademark property rights. See Ex. 1, attached hereto.

         7.        Defendant claimed that he is the legitimate owner of two copyrights and one

trademark registration for the work and mark “Winning Isn’t Normal.” See Exhibits A, C, and D

to Exhibit 1.

         8.        Defendant claimed that on February 4, 2016, Hayden Catholic infringed one of

his copyrights via a tweet posted on the Twitter feed of the Hayden Catholic boys’ basketball

team. He claimed another act of infringement when the Hayden Catholic girls’ basketball twitter

feed retweeted the same post on the same day. See Exhibits E and F to Exhibit 1.

         9.        As of February 4, 2016, the tweet from the boys’ twitter feed had accumulated 1

“like” and had been re-tweeted once. Defendant claimed that the two tweets “were directly

distributed to at least 756 of [Hayden Catholic]’s social media followers and was [sic] made



                                                  2
4829-7487-8090.1
         Case 2:19-cv-02142-JAR-JPO Document 1 Filed 03/13/19 Page 3 of 9




available to near seven billion, (and rapidly growing) households with access to the

Internet.” Exhibit 1 at page 2 (emphasis added). Defendant warned that under the law, he

could sue Hayden Catholic and allegedly could “elect to obtain statutory damages of up to

$30,000.00 for each infringement or up to $150,000.00 for each willful infringement,” and that

“Courts have typically enhanced damages 2-6 times for willful infringement.” Id. (emphasis in

original). In so doing, Defendant intended to threaten serious financial and reputational harm to

Hayden Catholic.

         10.       The Hayden Catholic boys’ basketball twitter account no longer exists. The

Hayden Catholic girls’ basketball twitter account has 417 followers as of the date of this filing.

         11.       Defendant claimed that he “would like to resolve this matter amicably without the

necessity of turning this matter over to [his] attorney and resorting to litigation.” Id. at 3. As

such, Defendant demanded that Hayden Catholic take certain actions, including payment of

either $17,500 or $14,500 by January 11, 2019. Id. at 3-4.

         12.       Defendant stated he was “prepared to take aggressive legal action to protect my

Winning Isn’t Normal copyright and trademark. If you do not take the steps enumerated above

by January 11, 2019, I shall be forced to seek all remedies provided by law, including

injunctions; actual damages; statutory damages; full costs; and reasonable attorneys’ fees.” Id.

at 4.

                                       Settlement Negotiations

         13.       After receipt of Defendant’s letter, Hayden Catholic’s counsel began negotiating

in good faith to resolve Defendant’s allegations without the need to resort to litigation.

         14.       Defendant alleged to Hayden Catholic’s counsel that he had lost “over a hundred

million dollars” over the years as a result of people infringing the copyrights at issue.



                                                   3
4829-7487-8090.1
         Case 2:19-cv-02142-JAR-JPO Document 1 Filed 03/13/19 Page 4 of 9




         15.       Hayden Catholic’s counsel informed Defendant that any allegedly infringing use

by Hayden Catholic is absolved by a fair use defense under 17 U.S.C. § 107. Accordingly,

Defendant threatened financial and reputational harm to Hayden Catholic on the basis of an

erroneous copyright claim, where Defendant was well aware of Hayden Catholic’s lawful tweets

in light of the fair use doctrine.

         16.       Hayden Catholic counsel and Defendant continued to correspond via email and

telephone, but no agreement could be reached. Although Defendant’s emails and statements

were confusing and contradictory, Hayden Catholic understood Defendant’s final offer of

settlement to have been for alleged damages in the amount of $12,500, which offer would expire

on March 12, 2019.

         17.       Hayden Catholic rejected the $12,500 offer. Defendant responded, “Okay, please

let your client know we will see them in court.”

                                              Fair Use

         18.       Hayden Catholic’s alleged use of Defendant’s copyrighted material (assuming but

neither alleging nor admitting that such copyright is valid) was de minimis and transformative, in

that the accused Twitter feeds added commentary and are part of the larger work of the Twitter

feeds, which are for school-related purposes such as communication and encouragement among

the Hayden Catholic basketball teams’ players and people close to them, such as the student-

athletes’ families.

         19.       As noted above, Hayden Catholic is a non-profit corporation and religion-based

high school. Hayden Catholic’s alleged infringement of Defendant’s copyright (assuming but

neither alleging nor admitting that such copyright is valid) was for a nonprofit purpose, and

neither basketball team’s Twitter account is a commercial enterprise. Hayden Catholic does not



                                                   4
4829-7487-8090.1
         Case 2:19-cv-02142-JAR-JPO Document 1 Filed 03/13/19 Page 5 of 9




profit on boys and girls basketball; rather, both athletic programs are significant expenses

incurred for the development of Hayden Catholic’s students. The Twitter accounts are

communication and education mechanisms, intended to encourage and support the development

of student-athletes.

         20.       Defendant’s “Winning Isn’t Normal” allegedly copyrighted phrase or excerpt is

available for free in many locations, including in the sample pages located at the following

webpage:

https://www.amazon.com/Winning-Isnt-Normal%C2%AE-

ebook/dp/B00QB7FAKG/ref=tmm_kin_swatch_0?_encoding=UTF8&qid=&sr= (last visited

March 13, 2019), where the book is sold:




         21.       After clicking on the “Look inside” feature on the Amazon.com webpage, the

following part of a larger sample is available for viewing by anyone who shops at Amazon:




                                                 5
4829-7487-8090.1
         Case 2:19-cv-02142-JAR-JPO Document 1 Filed 03/13/19 Page 6 of 9




         22.       Hayden Catholic’s tweets, which are not identical to the excerpt in Defendant’s

book, would comprise only a small part of Defendant’s book, and do not even include all of the

words that are available for free on Amazon.com, above. The tweets incorporate an image of an

altered portion of the “Winning Isn’t Normal” section in the introduction of Defendant’s book,

on a wrinkled piece of computer paper.

         23.       Hayden Catholic’s tweets could not impact the market for the original book, as

the same excerpt is publicly available to read even at the very place the book is sold. It could

hardly be said therefore that making the excerpt publicly viewable will adversely impact the

market for the book or Defendant’s other products for sale; on the contrary, Defendant has

apparently decided that showing prospective buyers the excerpt and much more will actually

encourage purchase.

         24.       Although Hayden Catholic does not admit to any infringing activity, after receipt

of Defendant’s letter, Hayden Catholic removed the two tweets from the boys’ and girls’

basketball team Twitter feeds, each of which could only have been seen by a few hundred

followers at the most.

                                                   6
4829-7487-8090.1
         Case 2:19-cv-02142-JAR-JPO Document 1 Filed 03/13/19 Page 7 of 9




                                    FIRST CAUSE OF ACTION
                                   DECLARATORY JUDGMENT

         25.       Hayden Catholic incorporates by reference the allegations in the preceding

paragraphs as if fully set forth herein.

         26.       The dispute between Hayden Catholic and Defendant is an “actual controversy

within [this] jurisdiction,” which creates a remedy such that this Court “may declare the rights

and other legal relations of any interested party seeking such declaration.” 28 U.S.C. § 2201(a).

See Fed. R. Civ. P. 57.

         27.       To resolve the legal and factual questions raised by Defendant, and to afford relief

from the uncertainty and controversy that Defendant’s assertions have precipitated, Hayden

Catholic is entitled to a declaratory judgment of its rights under 28 U.S.C. §§ 2201-02.

         28.       Hayden Catholic therefore seeks a declaratory judgment stating as follows:

                      a. Hayden Catholic is not liable for infringement of any of Defendant’s

                          intellectual property rights, including copyright infringement;

                      b. If Hayden Catholic were to be found to have copied a substantial portion

                          of any of Defendant’s valid copyrighted material, such use is a

                          permissible, non-infringing fair use; and

                      c. Hayden Catholic owes nothing to Defendant for any reason, whether in

                          response to an allegation of damages or a demand for attorney fees and

                          costs.

                                       PRAYER FOR RELIEF

         WHEREFORE, Hayden Catholic prays for the following relief and requests that this

Court enter judgment in favor of Hayden Catholic and against Defendant by:

         A.        Entering declaratory judgment stating as follows:


                                                    7
4829-7487-8090.1
         Case 2:19-cv-02142-JAR-JPO Document 1 Filed 03/13/19 Page 8 of 9




                   1. Hayden Catholic is not liable for infringement of any of Defendant’s

                      intellectual property rights, including copyright infringement;

                   2. If Hayden Catholic were to be found to have copied a substantial portion of

                      any of Defendant’s valid copyrighted material, such use is a permissible, non-

                      infringing fair use; and

                   3. Hayden Catholic owes nothing to Defendant for any reason, whether an

                      allegation of damages or a demand for attorney fees and costs.

         B.        Awarding Hayden Catholic costs, fees, and reasonable attorney fees, as allowed

by law; and

         C.        Awarding Hayden Catholic such further legal or equitable relief as this Court

deems just and proper.

                                    DEMAND FOR JURY TRIAL

         Hayden Catholic hereby demands a jury trial on all matters so triable.




                                                    8
4829-7487-8090.1
         Case 2:19-cv-02142-JAR-JPO Document 1 Filed 03/13/19 Page 9 of 9




         Dated this 13th day of March, 2019.



                                               Respectfully submitted,

                                               KUTAK ROCK LLP

                                               s/ Richard A. Olmstead
                                               Richard A. Olmstead (KS # 19946)
                                               111 S. Whittier, Suite 110
                                               Wichita, Kansas 67207
                                               Telephone: 816-960-0090
                                               Facsimile: 816-960-0041
                                               Richard.olmstead@kutakrock.com

                                               And

                                               Todd C. Kinney
                                               (pro hac vice application forthcoming)
                                               Patrick C. Stephenson
                                               (pro hac vice application forthcoming)
                                               Carol A. Svolos
                                               (pro hac vice application forthcoming)
                                               The Omaha Building
                                               1650 Farnam Street
                                               Omaha, NE 68102-2186
                                               Telephone: (402) 346-6000
                                               Facsimile: (402) 346-1148
                                               todd.kinney@kutakrock.com
                                               patrick.stephenson@kutakrock.com
                                               carol.svolos@kutakrock.com


                                               Attorneys for Hayden Catholic High School




                                                  9
4829-7487-8090.1
